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AU 247 (06/09) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582 (c) (2)


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                  MIDDLE             District of           ALABAMA

                     United States of America                                )
                                      V.                                     )
                    ANDREW LEWIS WILSON
                                                                             ) Case No: 3:94CR1 14-TMH: 06
                                                                             ) USM No: 09385-002
Date of Previous Judgment: 3/15/1996                                         ) Patricia Kemp
(Use Date of Last Amended Judgment ([Applicable)                             ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant           the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the sentencing factors set forth in 18 U.S.C. §
3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         DENIED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 324         months is reduced to 262 -
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    38                Amended Offense Level:                                                  34
Criminal History Category: VI                Criminal History Category:                                              VI         -.
Previous Guideline Range: 360 to Life months Amended Guideline Range:                                                262       to 405 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.

X The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 J Other    (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 3/15/1996                            shall remain in effect.
IT IS SO ORDERED.

Order Date                  October 13, 2009                                                        /s/ Truman M. Hobbs
                                                                                                        Judge 's signature

Effective Date:                                                                    TRUMANM. HUB BS, U. S. DISTRICT JUDGE
                         (tfd(/ferent from order date)                                                Printed name and title
